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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION

Flectere LLC,                                          CASE NO. 2:18-cv-00230-JRG

                Plaintiff

       v.

Office Depot, Inc.,

                Defendant.



                                 STIPULATION OF DISMISSAL

        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), it is stipulated and agreed

 that all claims brought by Plaintiff against Defendant in the above matter are dismissed with

 prejudice. It is further stipulated and agreed that each party will bear its own costs, expenses, and

 attorneys’ fees.

 Dated: September 21, 2018
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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that all counsel of record who are deemed to have

 consented to electronic service are being served with a copy of this document via the Court’s

 CM/ECF system per Local Rule CV-5(a)(3) on September 21, 2018.

                                                   /s/ Damon M. Lewis
                                                   Damon M. Lewis




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